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                                                                        Page 1
                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                Richmond Division
                                      - - -

              LULA WILLIAMS, et al.,           : NO.: 3:17-cv-00461
                        Plaintiffs             :
                vs.                            :
              BIG PICTURE LOANS,               :
              LLC, et al.,                     :
                        Defendants             :
              ----------------------           : ---------------------
              RENEE GALLOWAY, et               : NO.: 3:18-cv-406-REP
              al.,                             :
                        Plaintiffs             :
                Vs.                            :
              BIG PICTURE LOANS,               :
              LLC, et al.,                     :
                        Defendants             :

                                      - - -
                              Tuesday, May 26, 2020
                      *CONFIDENTIAL - ATTORNEYS' EYES ONLY*
                                      - - -

                       Excerpt from the REMOTE VIDEOTAPED
            DEPOSITION of JOETTE PETE, taken pursuant to
            notice, before Lynn Parlapiano, Professional
            Court Reporter and Notary Public in and for the
            Commonwealth of Pennsylvania.
                                   - - -
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                                                                        Page 5
       1                          (The following is a confidential
       2    except from the deposition of JOETTE PETE.)

       3                          - - -

       4    BY MR. SCHEFF:

       5        Q.         And so you mentioned the FBI a few

       6    times in your testimony today.             Did you reach out

       7    to the FBI or did the FBI reach out to you?

       8        A.         I reached out to the FBI.

       9        Q.         And what office did you contact?

      10        A.         Marquette, Michigan.

      11        Q.         And what happened when you contacted

      12    the Marquette, Michigan office of the FBI?

      13        A.         They asked to meet with me.

      14        Q.         And when approximately -- did you meet

      15    with them?

      16        A.         Yes.

      17        Q.         When approximately did that occur?
      18        A.         I don't remember.

      19        Q.         Was it around the same time you were

      20    speaking to Mr. Faux?

      21        A.         No.

      22        Q.         Was it before you spoke to Mr. Faux or

      23    after you spoke to Mr. Faux?

      24        A.         I don't remember.
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                                                                        Page 6
       1        Q.         Okay.    And how many times did you meet

       2    with the FBI?

       3        A.         Several times.       I don't know the exact

       4    number.

       5        Q.         All in Marquette?

       6        A.         No.

       7        Q.         Where else did you meet with the FBI?

       8        A.         My home.

       9        Q.         Your home in Watersmeet?

      10        A.         Yes.

      11        Q.         And how many times did you meet with

      12    the FBI in Watersmeet?

      13        A.         I believe once.

      14        Q.         And how many times did you meet with

      15    the FBI in Marquette?

      16        A.         I believe once.

      17        Q.         Did you meet with the FBI anywhere else

      18    other than in Watersmeet or Marquette on those

      19    two occasions that you just testified about?

      20        A.         With respect to this case?

      21        Q.         Yes, with respect to --

      22        A.         Not that I can recall.

      23        Q.         Okay.    Have you met with the FBI with

      24    respect to other cases as well?
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                                                                        Page 7
       1        A.         Yes.
       2        Q.         What cases have you met with the FBI

       3    about other than this case?

       4        A.         I don't want to answer that.

       5        Q.         You don't want to answer that.              Why

       6    not?

       7                          MR. PATTNI:     Do you need to take a

       8    break to talk to me?

       9                          THE WITNESS:     Yeah.

      10                          MR. SCHEFF:     Okay.     Sure.

      11                          THE VIDEOGRAPHER:        2:22 p.m.     Off

      12    the record.

      13                          (Recess.)

      14                          THE VIDEOGRAPHER:        The time is

      15    2:29 p.m.      We're on the record.

      16    BY MR. SCHEFF:

      17        Q.         Ms. Pete, are you going to answer my
      18    question or not?

      19        A.         Can you repeat the question, please?

      20        Q.         Yeah.

      21                   I asked -- you had said that you had

      22    talked to the FBI about more than just this case

      23    and I asked you what other cases?

      24                          MS. DRAKE:     I'm going to object to
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                                                                        Page 8
       1    that.
       2                        THE WITNESS:       I talked to the FBI

       3    with regards to other crimes that have occurred

       4    on the reservation, but with respect to this

       5    case, those are the times that I stated that I

       6    spoke with them.

       7    BY MR. SCHEFF:

       8        Q.         Okay.     What other crimes on the

       9    reservation have you spoken to the FBI about?

      10                        MS. DRAKE:       I object.      This is far

      11    afield from anything that's relevant, Mr. Scheff.

      12                        MR. SCHEFF:       It goes to bias and

      13    prejudice.

      14                        MS. DRAKE:       Well, it only goes to

      15    bias and prejudice if those crimes have anything

      16    to do with anything related to this case for

      17    which you've laid no foundation.              This is an
      18    obviously extremely sensitive potentially subject

      19    matter, and I object to this line of questioning.

      20                        And I don't know if Mr. Pattni has

      21    anything that he wants to say.             He may know what

      22    Ms. Pete is about to testify about, but I object.

      23    I think you're far afield.

      24                        MR. SCHEFF:       You stated your
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                                                                        Page 9
       1    objection on the record.           It's on the record

       2    clearly.

       3    BY MR. SCHEFF:

       4        Q.         Ms. Pete, what other crimes on the

       5    reservation?

       6                        MR. PATTNI:      Thank you, Mr. Scheff.

       7    On Ms. Pete's behalf, too, I'm also objecting on

       8    relevancy grounds.         I think we are getting far

       9    afield.     If Ms. Pete wants to provide an answer,

      10    you know, she can, but I did -- I think we are

      11    getting a little off base here.

      12                        MR. SCHEFF:      Relevancy is not a

      13    reason not to have a witness answer a question.

      14                        MS. DRAKE:      All of her contacts

      15    with law enforcement are not relevant and they're

      16    not even close to being relevant any more than

      17    someone who has spoken with the FBI --

      18                        MR. SCHEFF:      You had stated --

      19                        MS. DRAKE:      -- about other criminal

      20    matters is going to get questioned about that in

      21    any case.      I think you're doing this to try to

      22    intimidate her and ask her about sensitive

      23    matters and I want that clearly on the record.

      24                        MR. SCHEFF:      It's on the record,
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                                                                       Page 10
       1    Ms. Drake.      I've asked a question.          I've stated

       2    the reason.      You've noted your objection.

       3    BY MR. SCHEFF:

       4        Q.         Ms. Pete, are you going to answer my

       5    question?

       6                        MS. DRAKE:      You've laid no

       7    foundation for this whatsoever.             This is just

       8    harassment at this point.

       9    BY MR. SCHEFF:

      10        Q.         Are you going to answer my question?

      11        A.         I did answer your question with respect

      12    to this case.

      13        Q.         What other crimes that you say occurred

      14    on the reservation have you spoken to the FBI

      15    about?

      16                        MS. DRAKE:      I don't believe she has

      17    any obligation to answer that question.

      18                        MR. SCHEFF:      You know, Ms. Drake,

      19    you've made your record.           Right now you're just

      20    interfering with the testimony.

      21                        MS. DRAKE:      Well, you're harassing

      22    a witness.

      23                        MR. SCHEFF:      I'm not harassing a

      24    witness.     I've stated the basis.          You don't like
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                                                                       Page 11
       1    it.        I understand that, but I've stated the

       2    basis.

       3    BY MR. SCHEFF:

       4          Q.         Ms. Pete, can you answer the question?

       5                         MR. PATTNI:     Ms. Pete wants to talk

       6    to me again real quick.

       7                         MR. SCHEFF:     That's fine.

       8                         THE VIDEOGRAPHER:       The time is

       9    2:32 p.m.        We're off the record.

      10                         (Recess.)

      11                         THE VIDEOGRAPHER:       2:43 p.m.      We're

      12    on the record.

      13                         MR. PATTNI:     So Mr. Scheff, I had a

      14    conversation with Ms. Pete about the line of

      15    questioning.        At this time, she does not want to

      16    discuss and we're not going to about any other

      17    investigations she's talked to the FBI.

      18                         I can do a little inquiry of her to

      19    let you know that any other conversation she had

      20    with law enforcement were not related to this

      21    lending scheme, this lawsuit, any of the

      22    defendants in any way related to this matter.

      23    She'd be happy to answer questions if the judge

      24    pushes it in camera, but we're kind of going down
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                                                                       Page 12
       1    a sensitive path here and I don't think it's

       2    relevant or necessary to do it today.

       3                        MR. SCHEFF:      Are you directing her

       4    not to answer the question?

       5                        MR. PATTNI:      I told her to use her

       6    best judgment.       We're getting far afield here,

       7    so --

       8                        MS. DRAKE:      She's not answering the

       9    question.      My understanding of the record is that

      10    she's not answering the question, and I think

      11    it's certainly appropriate for her to refuse to

      12    do that.

      13                        These are about potentially ongoing

      14    law enforcement investigations with the FBI,

      15    which you now have on the record are unrelated to

      16    this business or the individuals involved in the

      17    business.

      18                        And we certainly on behalf of

      19    plaintiffs would support any further inquiry into

      20    these kinds of matters being made only in camera

      21    and only with Judge Payne.

      22                        I think that this is pure

      23    harassment at this point trying to intimidate

      24    this witness by asking her about other contact
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                                                                       Page 13
        1    she's had with law enforcement.
        2                        MR. SCHEFF:       I'm not trying to

        3    intimidate the witness.          As I said, it's relevant

        4    to bias and prejudice.

        5                        MS. DRAKE:      It's not when you've

        6    already been told that it's completely unrelated

        7    to the subject matter.

        8                        MR. SCHEFF:       Can I finish without

        9    you cutting me off as you typically do?

      10     BY MR. SCHEFF:

      11         Q.         Ms. Pete, do any of these other

      12     investigations have anything to do with Chairman

      13     Williams?

      14                         MS. DRAKE:      I'm going to just

      15     object.     I think that anything that Ms. Pete is

      16     required to answer about any ongoing

      17     investigations with law enforcement should be
      18     handled by Judge Payne off the record in

      19     chambers.      I think she has --

      20                         MR. SCHEFF:       There's no evidence

      21     that this is an ongoing investigation, number

      22     one.     Number two, there's no prohibition about

      23     asking a witness about their contacts with law

      24     enforcement.       There's no law that prohibits that
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                                                                       Page 14
        1    in any way, shape or form, no rule that prohibits

        2    that in any way, shape or form.

        3    BY MR. SCHEFF:

        4        Q.        Ms. Pete, did any of the other supposed

        5    criminal matters that occurred on the reservation

        6    that you reported to the FBI relate to Chairman

        7    Williams?

        8                        MS. DRAKE:      Again, I object.

        9                        MR. PATTNI:      Do you need to talk to

      10     me a little bit more?

      11                         THE WITNESS:      I'm just not going to

      12     answer that.

      13     BY MR. SCHEFF:

      14         Q.        You said you're not going to answer the

      15     question?

      16         A.        No.

      17         Q.        Okay.     Did any of the other criminal

      18     matters that you talked to the FBI about relate

      19     to Michelle Hazen?

      20         A.        I'm not going to answer that.

      21         Q.        Did any of the other criminal

      22     matters -- alleged criminal matters that you

      23     talked to the FBI about relate to Matt

      24     Martorello?
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                                                                       Page 15
        1        A.        I'm not going to answer that.

        2        Q.        Did any of the other criminal

        3    matters -- alleged criminal matters that you

        4    spoke to the FBI about relate --

        5                        MR. BENNETT:      Stop.     Stop.     This is

        6    Len Bennett.      Enough.     Enough.       I'm going to get

        7    the judge on the phone.          I don't know how you do

        8    things in Philadelphia.          I don't -- no.         No.

        9    Stop.     I'm talking.

      10                         You will not on a deposition where

      11     I'm the Virginia licensed lawyer have two lawyers

      12     tell you they object, have a witness say she's

      13     not going to answer and because you, you think

      14     that you know more about representing a criminal

      15     that everyone else that you're going to continue

      16     to proceed and ignore those.

      17                         MR. SCHEFF:      Mr. Bennett, I'm

      18     making my record.

      19                         MR. BENNETT:      No.     Enough.     Enough.

      20     Enough.     Richard.     Enough.     I will take the heat.

      21     I will pay the fees if you ask one more -- listen

      22     to me.

      23                         MR. SCHEFF:      No, I'm not going to

      24     listen to you.
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                                                                         Page 16
        1                        MR. BENNETT:       You stop and you
        2    listen.     You listen to me.         You listen to me.

        3                        MR. SCHEFF:       I want to make my

        4    record.

        5                        MR. BENNETT:       No.     No.   I am

        6    talking.     You can make your record when I'm done.

        7    That's the way it works.           Got it?

        8                        MR. SCHEFF:       Mr. Bennett, you

        9    interrupted me while I was making my record,

      10     so --

      11                         MR. BENNETT:       You were not making

      12     your record.       You were not making your record.

      13     You were continuing to --

      14                         MR. SCHEFF:       Yes, I was.      I was

      15     making my record.

      16                         MR. BENNETT:       Okay.     Put your

      17     fingers in your ear and stick your tongue out and
      18     go I'm not going to listen.            Do what you want to

      19     do, Richard, but I'm talking.

      20                         So here's the way it'll work.              You

      21     say everything you want to say right now.                   Nobody

      22     will respond.       Nobody say anything to Richard.

      23     Richard talk as long as you want.               When you're

      24     done, then I will say stuff on the record and
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                                                                       Page 17
        1    that way the court reporter can take turns typing
        2    Richard Scheff, Leonard Bennett.              So go.     It's on

        3    you.    You tell us when you're done with your

        4    record.

        5                        MR. SCHEFF:       I'm making my record

        6    with the witness, Mr. Bennett, because I need to

        7    do that in order to preserve the issue.                 So I was

        8    asking a series of questions of the witness and

        9    she was refusing to answer.            And I'm going to

      10     continue to do that to make my record.                 If she

      11     chooses not to answer, that's up to her.

      12                         MR. BENNETT:       No, it's not up to

      13     her.    Her lawyer has told you, the plaintiffs'

      14     counsel has told you.          I get that you don't do a

      15     lot of this stuff in Virginia, but we follow the

      16     federal rules of civil procedure.

      17                         MR. SCHEFF:       I am following --
      18                         MR. BENNETT:       There's an --

      19     Richard, it's my turn.

      20                         You have objections and statements

      21     that the witness is not going to talk about this

      22     subject matter, which is, by the way, an

      23     informant has informed the Federal Bureau of

      24     Investigation of possible criminal activity
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                                                                       Page 18
        1    unrelated to online lending and now you want to

        2    use this deposition in order to, as you say,

        3    learn about the bias that this witness has.

        4                        You clearly already know this

        5    witness does not think well of Mr. Martorello.

        6    You clearly know this witness does not think well

        7    of either Michelle or of Chairman Williams, and

        8    you have that.       That's done.       So now you want to

        9    learn more, maybe to find out if Mr. Martorello

      10     has some other problems.          I don't know.       You

      11     know.    You're his lawyer.         If he's selling drugs

      12     and you know that, I don't get to ask you those

      13     questions.

      14                         You're not going to talk about

      15     unrelated matters beyond online lending.                And I'm

      16     telling you that and I'm interrupting in this

      17     deposition.      I'm putting my name, my license on

      18     the record and I will take the heat with Judge

      19     Payne.

      20                         The offer that has been made to you

      21     is that if you want to ask these questions, you

      22     can do it in camera with the judge and the judge

      23     can then make sure that Richard Scheff doesn't

      24     tell Matthew Martorello this information, which
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                                                                       Page 19
        1    will likely be designated attorney eyes only, and
        2    does not share it with the tribe.

        3                        All right.      I'm done talking.          You

        4    will not ask another question about this.                 If you

        5    ask any question about this, I'm asking everyone

        6    here to ignore those questions.             If you continue,

        7    then I will ask that this deposition be

        8    terminated so that we can seek protective order

        9    and sanctions against either you or I, but you

      10     have an objection, which the witness said they're

      11     not answering.

      12                         It's clearly privileged.           It is

      13     clearly -- an informant providing unrelated

      14     information to a law enforcement agency is

      15     privileged.      You can't go further.

      16                         MR. SCHEFF:       Mr. Bennett, it's not

      17     privileged.      Ms. Drake made an objection earlier
      18     saying I had not laid a foundation as to why that

      19     these questions related to bias and prejudice and

      20     so I was laying that foundation when you

      21     interrupted me.

      22                         The witness has not been directed

      23     not to answer the question.            She's choosing not

      24     to answer the question, so I'm making my record
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                                                                       Page 20
        1    so I can present it to Judge Payne accordingly.

        2    That's all I'm doing.

        3                        MS. DRAKE:      Well, my view is that

        4    your questions as to the people to whom anything

        5    she may have conveyed to the FBI relates or does

        6    not relate invade what I believe is a privilege

        7    called the informer privilege.

        8                        And I believe that the basis for

        9    her refusal to answer these questions is linked

      10     to an important governmental interest and that

      11     your efforts to force her into answering these

      12     questions are intimidating and harassing in

      13     violation of the federal rules.

      14                         MR. SCHEFF:      Okay.     We can litigate

      15     that in front of Judge Payne.            I'm making my

      16     record.     That's all I'm doing.         If she's not to

      17     answer the question, she's not to answer the

      18     question, but I'm making my record, this

      19     transcript --

      20                         MS. DRAKE:      I think the record has

      21     already been made, Richard.           She's not answering

      22     any questions about who any of the testimony

      23     related to or didn't relate to.              You can start

      24     reading names in the phonebook and she's not
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                                                                       Page 21
        1    going to answer any of those questions.

        2                         So why don't you just ask her this

        3    question if you don't want to harass her.                Why

        4    don't you say, are you going to tell me anybody

        5    that you're testimony relates to, and then she'll

        6    say no and then you can have your record and we

        7    can put it in front of Judge Payne.

        8                         MR. SCHEFF:     That's fine.

        9    BY MR. SCHEFF:

      10         Q.        Why don't you answer that question, Ms.

      11     Pete.    Are you going to identify any of the

      12     individuals that you disclosed to the FBI alleged

      13     criminal activity which you believe occurred on

      14     the reservation, yes or no?

      15         A.        No.

      16         Q.        Okay.     When's the last time you spoke

      17     to the FBI regarding this tribal lending matter?

      18         A.        2016.

      19         Q.        2016?

      20         A.        Yes.

      21         Q.        And they were the two meetings, the one

      22     in Marquette, the one in Watersmeet.              Any others?

      23         A.        No.

      24                          MR. SCHEFF:     All right.      I've got
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                                                                       Page 22
        1    nothing further of this witness at this time, but
        2    I reserve my rights based on our conversation.

        3                        (Whereupon, the testimony resumed

        4    in the original transcript.)

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                                                                       Page 23
        1                               CERTIFICATE
        2
        3                   I HEREBY CERTIFY that the witness was
        4    duly sworn by me and that the deposition is a
        5    true record of the testimony given by the
        6    witness.
        7
        8
        9
      10     _____________________
      11     Lynn Parlapiano,
      12     A Professional Court Reporter
      13     and Notary Public
      14     Dated:_______________
      15
      16
      17                    (The foregoing certification of this
      18     transcript does not apply to any reproduction of
      19     the same by any means, unless under the direct
      20     control and/or supervision of the certifying
      21     reporter.)
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      23
      24
